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13    MARK ZUCKERBERG
14
                               UNITED STATES DISTRICT COURT
15
                             NORTHERN DISTRICT OF CALIFORNIA
16                                SAN FRANCISCO DIVISION
17
     LAURA LOOMER, as an individual, LAURA                 Case No. 3:22-cv-02646-LB
18   LOOMER, in her capacity as a Candidate for
     United States Congress, and LAURA LOOMER              [PROPOSED] ORDER GRANTING
19   FOR CONGRESS, INC.,                                   META PLATFORMS, INC. AND MARK
                                                           ZUCKERBERG’S MOTION TO
20                         Plaintiffs,                     DISMISS PLAINTIFFS’ AMENDED
            v.                                             COMPLAINT
21

22   META PLATFORMS, INC., MARK                            Hon. Laurel Beeler
     ZUCKERBERG, in his capacity as CEO of Meta            Courtroom B, 15th Floor
23   Platforms, Inc. and as an individual, TWITTER,
     INC., and JACK DORSEY, in his capacity as
24   former CEO of Twitter, Inc. and as an individual,
     THE PROCTOR & GAMBLE COMPANY,
25
     DOES 1-100, individuals,
26                         Defendants.
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      CASE NO. 3:22-CV-02646-LB                                    [PROPOSED] ORDER GRANTING META
                                                                          PLATFORMS, INC. AND MARK
                                                                    ZUCKERBERG’S MOTION TO DISMISS
       Case 3:22-cv-02646-LB Document 80-3 Filed 10/27/22 Page 2 of 2




 1                                       [PROPOSED] ORDER

 2          The motion to dismiss of Defendants Meta Platforms, Inc. and Mark Zuckerberg came on

 3   for hearing before this Court. Counsel for all parties appeared. The Court having considered the

 4   papers submitted with the motion, the arguments of counsel, and all other matters presented to the

 5   Court, Defendants’ motion to dismiss is hereby GRANTED and Plaintiffs’ Amended Complaint,

 6   with respect to Defendants Meta Platforms, Inc. and Mark Zuckerberg, is DISMISSED in its

 7   entirety WITH PREJUDICE.

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 9          IT IS SO ORDERED.
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     Date: __________________________                    ___________________________________
13
                                                         The Honorable Laurel Beeler
14                                                       United States Magistrate Judge

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      CASE NO.   3:22-CV-02646-LB                    1             [PROPOSED] ORDER GRANTING META
                                                                          PLATFORMS, INC. AND MARK
                                                                    ZUCKERBERG’S MOTION TO DISMISS
